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                IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF OKLAHOMA

   (1) KRISTINA VERDEA,                            )
                                                   )
                              Plaintiff,           )
                                                   )
   v.                                              )      Case No.: 18-cv-79-CVE-JFJ
                                                   )      (Removed from Creek County
                                                   )      CJ 2015-4282)
   (2) STATE FARM MUTUAL                           )
   AUTOMOBILE INSURANCE COMPANY,                   )
                                                   )
                              Defendants.          )

                                  NOTICE OF REMOVAL

         COMES NOW Defendant State Farm Mutual Automobile Insurance Company

   (“State Farm”) and, pursuant to 28 U.S.C. §§ 1441(a), 1441(b) and 1446(b)(2)(A),

   Fed.R.Civ.P. 81 and LCvR 81.2, removes this case from the District Court of Creek

   County, State of Oklahoma. In support thereof, State Farm would show as follows:

         I.     FACTS SUPPORTING REMOVAL:

         1.     On November 17, 2017, Plaintiff Kristina Verdea filed this action in the

   District Court of Creek County, State of Oklahoma. The case filed by Plaintiff was

   assigned Case No. CJ-2017-346. (Exhibit 1 – Plaintiff’s Petition.)

         2.     Plaintiff caused summons to be issued and, on January 22, 2018, State Farm

   was served with the Petition and Summons via service on the Oklahoma Insurance

   Commissioner.
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          3.     This Notice of Removal is timely filed in that it was filed within thirty (30)

   days of the date on which State Farm was served with Plaintiff’s Petition. 28 U.S.C.A. §

   1446(b).

          4.     This Court has jurisdiction over this action, as shown below, based on 28

   U.S.C. § 1332, because the parties are citizens of different states and the amount in

   controversy is excess of $75,000, exclusive of interest and costs.

          5.     Plaintiff is, upon information and belief, a resident and citizen of the State of

   Oklahoma.

          6.     State Farm is a corporation organized under the laws of the State of Illinois

   with its principal place of business in Bloomington, McLean County, Illinois.

          7.     Plaintiff admits, in her Petition, that she is seeking damages in excess of the

   amount required for diversity jurisdiction under 28 U.S.C.A. § 1332. (Exhibit 1, p. 2, ¶

   11.)

          8.     Accordingly, because there is complete diversity among the parties and

   because Plaintiff is seeking damages in excess of $75,000, the Court has jurisdiction over

   this matter under 28 U.S.C.A. § 1332 and removal is proper under 28 U.S.C.A. § 1441(a).

          II.    DOCUMENTS FILED IN STATE COURT:

          Pursuant to 28 U.S.C.A. §§ 1446(a), 1449 and LCvR 81.2, the only documents filed

   in the District Court of Creek County, Oklahoma are Plaintiff’s Petition and Certificate of

   Service by Mail. A copy of the Docket Sheet for Case No. CJ-2017-346 from the District

   Court of Creek County, Oklahoma is attached hereto as Exhibit 2.



                                                 2
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          There are no motions pending in the case at the time of the filing of this Notice of

   Removal.

          III.   JURY TRIAL DEMAND:

          Plaintiff did demand a jury trial in state court prior to removal. State Farm also

   demands a jury trial. Pursuant to Fed.R.Civ.P. 38 and 81(c)(3) and LCvR 81.1, State Farm

   demands a jury trial of this removed case.

          IV.    NOTICE TO STATE COURT:

          Pursuant to 28 U.S.C.A. § 1446(d), a copy of this Notice of Removal is being

   mailed to the opposing party and to the Court Clerk for the District Court of Creek County,

   Oklahoma.

                                       CONCLUSION

          WHEREFORE, Defendant State Farm Mutual Automobile Insurance Company

   respectfully removes this action from the District Court of Creek County, Oklahoma to the

   United States District Court for the Northern District of Oklahoma.

                                                    Respectfully submitted,

                                                    /s/ Michael W. Brewer
                                                    Michael W. Brewer, OBA No. 11769
                                                    HILTGEN & BREWER, P.C.
                                                    9505 North Kelley Avenue
                                                    Oklahoma City, Oklahoma 73131
                                                    Telephone: (405) 605-9000
                                                    Facsimile: (405) 605-9010
                                                    mbrewer@hbokc.law
                                                    ATTORNEY FOR DEFENDANT




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                                CERTIFICATE OF SERVICE

           I hereby certify that on this 7th day of February 2018, I electronically transmitted
   the attached document to the Clerk of Court using the ECF System for filing. Based on the
   records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
   the following ECF registrants:

   Billy Griffin
   Jason Reynolds


                                                    /s/ Michael W. Brewer
                                                    Michael W. Brewer

          This will further certify that a true and correct copy of the above and foregoing
   Notice of Removal was mailed postage prepaid on this 7th day of February 2018, to the
   following:

          Creek County Court Clerk
          222 E. Dewey Ave.
          Suite 201
          Sapulpa, Oklahoma 74066
                                                    /s/ Michael W. Brewer
                                                    Michael W. Brewer




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